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                      UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK

In re:                                     :   Chapter 11

RESIDENTIAL CAPITAL, LLC, et. al.          :   Case Number 12-12020 (MG)
                                               (Jointly Administered)
                             Debtors.      :

               REPORT OF ARTHUR J. GONZALEZ, AS EXAMINER

                                        APPENDIX

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